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PCM/BKM: USAO 2018R00902
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT: OF MARYLAND

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UNITED STATES OF AMERICA —gy_*_/C-_peputy
CRIMINAL No. ELH | ce O6O

*
Vv. *
*
JAMES IAN PICCIRILLI, * (Possession of Machine Gun, 18 U.S.C.
*
*
*
*

§ 922(0); Possession of Unregistered
Firearm, 26 U.S.C. § 5861(d);
Forfeiture, 18 U.S.C. § 924(d), 26
UIS.C. § 5872, 28 U.S.C. § 2461(c))

Defendant,

*
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INDICTMENT

COUNT ONE
(Possession of Machine Gun)

The Grand Jury for the District of Maryland charges that:
On or about October 5, 2018, in the District of Maryland, the defendant,
JAMES IAN PICCIRILLI,
knowingly possessed a machine gun, that is, a MKE, model AT-43, 5.56mm caliber firearm,
unknown manufacturer, serial number T0624-10P00446, in violation of Title 18, United States
Code, Section 922(0).

18 U.S.C. § 922(0)
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COUNT TWO
(Possession of Machine Gun)

The Grand Jury for the District of Maryland further charges that:

On or about December 14, 2018, in the District of Maryland, the defendant,

JAMES IAN PICCIRILLI,

knowingly possessed the following machine guns, in violation of Title 18, United States Code,

Section 922(0):

od,

10.

A MKE, model Z5K, 9mm Luger caliber firearm, unknown manufacturer, serial
number T0624-15BJ00242

A RPK, 7:62x39mm caliber firearm, unknown manufacturer, serial number
UD1261

An Ohio Rapid Fire, model Vz 58, 7.62x39mm caliber firearm, unknown
manufacturer, serial number 02089

A DSA, model RPDS, 7.62x39mm caliber firearm, unknown manufacturer, serial
number 10305

A MKE, model Z5P, 9mm Luger caliber firearm, unknown manufacturer, serial
number T0624-15BK01044

A MKE, model 743P, 5.56mm caliber firearm, unknown manufacturer, serial
number T0624-15BF00391

A MKE, model Z5RS, 9mm Luger caliber firearm, unknown manufacturer, serial
number T0624-15BH01945

A MKE, model Z5RS, 9mm Luger caliber firearm, unknown manufacturer, serial
number T0624-15BH00241

A MKE, model 743P, 5.56mm caliber firearm, unknown manufacturer, serial
number 10624-15BF00324

An IMI UZI, model B, 9mm Parabellum caliber firearm, unknown manufacturer,
serial number SA39825

18 U.S.C. § 922(0)
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COUNT THREE
(Possession of Unregistered Firearm)

The Grand Jury for the District of Maryland further charges that:
On or about December 14, 2018, in the District of Maryland, the defendant,
JAMES IAN PICCIRILLI,

unlawfully and knowingly possessed a firearm as defined in 26 U.S.C. § 5845(a), that is, seven
cylindrical devices, no manufacturer marks or serial numbers, capable of diminishing the sound
report of a portable firearm, not registered to him in the National Firearms Registration and
Transfer Record, in violation of Title 26, United States Code, Sections 5841, 5845(a), 5861(d),
and 5871, and Title 18, United States Code, Section 921(a)(24).
26 U.S.C. § 5841
26 U.S.C. § 5845(a)
26 U.S.C. § 5861(d)

26 U.S.C. § 5871
18 U.S.C. § 921(a)(24)
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COUNT FOUR
(Possession of Unregistered Firearm)

The Grand Jury for the District of Maryland further charges that:
On or about December 14, 2018, in the District of Maryland, the defendant,
JAMES IAN PICCIRILLI,

unlawfully and knowingly possessed a firearm as defined in 26 U.S.C. § 5845(a), that is, an IMI
UZI, 9mm Parabellum caliber firearm, unknown manufacturer, serial number 10725, having a
barrel or barrels of less than 16 inches in length, not registered to him in the National Firearms
Registration and Transfer Record, in violation of Title 26, United States Code, Sections 5841,
5845(a), 5861(d), and 5871, and Title 18, United States Code, Section 921(a)(8).
26 U.S.C. § 5841
26 U.S.C. § 5845(a)
26 U.S.C. § 5861(d)

26 U.S.C. § 5871
18 U.S.C. § 921(a)(8)
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FORFEITURE
The Grand Jury for the District of Maryland further charges that:
1. Pursuant to Fed. R. Crim. P. Rule 32.2, notice is hereby given to the defendant
that the United States will seek forfeiture as part of any sentence, in accordance with Title 18,
United States Code, Section 924(d), Title 28, United States Code, Section 2461(c), and Title 26
United States Code, Section 5872, in the event of the defendant’s conviction under Counts One

through Four of this Indictment.

2. As a result of the offenses alleged in Counts One through Four of this Indictment,

the defendant,

JAMES IAN PICCIRILLI,

shall forfeit to the United States the firearms involved in the commission of the offense.

18 U.S.C. § 924(d)
26 U.S.C. § 5872
28 U.S.C. § 2461(c)

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Robert K. Hur
United States Attorney

A TRUE BILL:

 

SIGNATURE REDACTED 2fa/r9

 

 

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